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                               1   BAKER & HOSTETLER LLP
                                   11601 Wilshire Boulevard
                               2   Suite 1400
                                   Los Angeles, CA 90025-0509
                               3   Telephone: 310.820.8800
                                   Facsimile: 310.820.8859
                               4
                                   L. Poe Leggette (Admitted Pro Hac Vice)
                               5   Email: pleggette@bakerlaw.com
                                   Mark S. Barron (Admitted Pro Hac Vice)
                               6   Email: mbarron@bakerlaw.com
                                   Emily B. Thomas (Admitted Pro Hac Vice)
                               7   Email: ethomas@bakerlaw.com
                                   BAKER & HOSTETLER LLP
                               8   811 Main Street
                                   Suite 1100
                               9   Houston, TX 77002-6111
                                   Telephone: 713.751.1600
                              10   Facsimile: 713.751.1717
                              11
                                   Attorneys for Defendant-Intervenor
B AKER & H OSTETLER LLP
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                              12   DCOR, LLC
      L OS A NGELES




                              13                  IN THE UNITED STATES DISTRICT COURT
                              14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                              15   ENVIRONMENTAL DEFENSE                              Case No. 2:16-CV-08418-PSG-FFMx
                              16   CENTER, et al.,                                    NOTICE OF MOTION AND
                                                                                      MOTION FOR PARTIAL
                              17               Plaintiffs,                            AMENDMENT OF JUDGMENT
                                                                                      OR PARTIAL RELIEF FROM
                              18         v.                                           ORDER ON BEHALF OF
                                                                                      DEFENDANT-INTERVENOR
                              19   BUREAU OF OCEAN ENERGY                             DCOR, LLC; MEMORANDUM OF
                                   MANAGEMENT, et al.,                                POINTS AND AUTHORITIES
                              20
                                               Defendants,                            Hearing Date:    March 4, 2019
                              21                                                      Hearing Time: 1:30 p.m.
                                   AMERICAN PETROLEUM                                 Courtroom:       6A
                              22   INSTITUTE, et al.,                                 Judge:     Hon. Philip S. Gutierrez
                              23               Defendant-Intervenors.
                              24
                              25
                              26
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                                                                      NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
                                                             OR PARTIAL RELIEF FROM ORDER ON BEHALF OF DEFENDANT INTERVENOR DCOR, LLC;
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                               1                               NOTICE OF MOTION AND MOTION
                               2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                               3           PLEASE TAKE NOTICE that on March 4, 2019 at 1:30, or as soon
                               4   thereafter as the matter may be heard, before the Honorable Philip S. Gutierrez, in
                               5   the above-titled Court, Courtroom 6A of the First Street Federal Courthouse, 350
                               6   West 1st Street, Los Angeles, CA 90012, DCOR, LLC (“DCOR”) will, and hereby
                               7   does, move for post-judgment relief, in the form of a partial amendment of this
                               8   Court’s December 13, 2018 judgment (the “Judgment”), pursuant to Fed. Rule of
                               9   Civil Procedure 59(e), or partial relief from the Judgment, pursuant to Fed. Rule of
                              10   Civil Procedure 60(b) in these three consolidated cases (the “Consolidated
                              11   Action”).
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                              12           This Motion for Post-Judgment Relief (the “Motion”) is based on: this
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                              13   Notice of Motion, the Motion, and the attached Memorandum of Points and
                              14   Authorities; the Declaration of Alan C. Templeton, as well as the declaration of
                              15   David Cohen; the argument of counsel, all pleadings and papers on file in this
                              16   action; and upon such other matters as may be presented to the Court at the hearing
                              17   on this Motion or before the Court’s decision.
                              18           This Motion is made following conferences with counsel for each Party,
                              19   pursuant to Local Rule 7-3. These conferences took place from January 3, 2019 to
                              20   January 9, 2019. The Parties take the following positions:
                              21   (1)     The Federal Defendants stated they take no position on this Motion at this
                              22           time and reserve their position until after such Motion is filed. They added
                              23           that due to the lapse in appropriations caused by the federal shutdown, if a
                              24           response from the Federal Defendants becomes pending they will seek a stay
                              25           of this case, for as many days as the lapse in appropriations lasts.1
                              26
                                   1
                                            As of the date of filing this Motion, the federal government shutdown is still in effect. Considering the
                              27   Federal Defendants’ position, DCOR suggests that a stay of this case and all related deadlines may be appropriate,
                                   because the Department of Justice is representing the United Sates agencies who are parties in this case. Such a stay
                              28
                                                                                            2
                                                                            NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
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                               1   (2)     Plaintiffs State of California, Environmental Defense Center, Santa Barbara
                               2           Channelkeeper, Center for Biological Diversity, and Wishtoyo Foundation
                               3           stated they plan to oppose this Motion.
                               4   (3)     Defendant-Intervenors American Petroleum Institute and Exxon Mobil
                               5           Corporation take no positions on this Motion.
                               6
                                   Respectfully submitted this 10th day of January, 2019
                               7
                               8                                           BAKER & HOSTETLER LLP

                               9                                   By:      /s/ L. Poe Leggette
                              10                                           Poe Leggette (Admitted Pro Hac Vice)

                              11                                            Attorneys for Defendant-Intervenor
B AKER & H OSTETLER LLP




                                                                            DCOR, LLC
   A TTORNEYS AT L A W




                              12
      L OS A NGELES




                              13   Michael R. Matthias
                                   Mark S. Barron (Admitted Pro Hac Vice)
                              14   Emily B. Thomas (Admitted Pro Hac Vice)
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                              26
                              27   would be consistent with actions of several other Federal District Courts that have already entered omnibus stays.
                                   See, e.g., D. Wyo., M.D. Pa., and W.D. Pa.
                              28
                                                                                           3
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                               1
                                                MEMORANDUM OF POINTS OF AUTHORITIES
                               2
                               3
                                   I.    INTRODUCTION
                               4
                                         DCOR, LLC (“DCOR”) asks the Court to modify in part the judgment
                               5
                                   entered on December 13, 2018, in these consolidated cases (“the Judgment”).
                               6
                                   DCOR asks that the Judgment’s injunction (the “Injunction”) be modified to allow
                               7
                                   the Federal Defendants to process and, if otherwise in compliance with law,
                               8
                                   approve two applications for permit to modify (“APMs”). The two APMs would
                               9
                                   authorize DCOR to conduct hydraulic fracturing on two wells on Platform Gilda,
                              10
                                   8.9 miles from the California coast and 5.9 miles outside of California’s coastal
                              11
                                   zone established under the Coastal Zone Management Act (“CZMA”). Except as
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                              12
                                   to these two APMs, the Injunction entered against the Federal Defendants would
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                              13
                                   otherwise remain in place.
                              14
                                         DCOR respectfully submits the Court did not consider the equities and
                              15
                                   balance of harms as to DCOR. As shown below, DCOR will continue to suffer
                              16
                                   unrecoverable financial loss, for which there is no remedy in damages, unless
                              17
                                   DCOR’s motion is granted.          Under DCOR’s proposed modification of the
                              18
                                   Judgment, on the other hand, the California Plaintiffs will continue to receive what
                              19
                                   they sought in the litigation: their “right under the CZMA to receive and be given
                              20
                                   an opportunity to review a consistency determination under 16 U.S.C. §
                              21
                                   1456(c)(1).” ECF 126, Order (“Order”) at 40.
                              22
                                         This modification of the Judgment is compelled by Winter v. Natural
                              23
                                   Resources Defense Council, Inc., 555 U.S. 7, 32-33 (2008). There the lower courts
                              24
                                   had determined the Navy had failed to prepare an environmental impact statement
                              25
                                   under the National Environmental Policy Act (“NEPA”) before conducting certain
                              26
                                   sonar training exercises that allegedly could harm marine mammals.                        With
                              27
                                   complications not relevant here, the Ninth Circuit Court of Appeals affirmed a
                              28
                                                                               1
                                                                   NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
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                               1   preliminary injunction allowing the Navy to continue testing subject to certain
                               2   restrictions, two of which the Navy challenged before the Supreme Court. The
                               3   Supreme Court agreed the lower courts had abused their discretion by imposing the
                               4   restrictions.
                               5          Given that the ultimate legal claim [by plaintiffs] is that the Navy
                               6          must prepare an EIS, not that it must cease sonar training, there is no
                               7          basis for enjoining such training in a manner credibly alleged to pose
                               8          a serious threat to national security. This is particularly true in light of
                               9          the fact that the training has been going on for 40 years with no
                              10          documented episode of harm to a marine mammal.”
                              11   Id. at 32-33.
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                              12          Here, the California Plaintiffs do not seek to end hydraulic fracturing, but
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                              13   simply to receive a consistency determination from the Federal Defendants. Given
                              14   that hydraulic fracturing has occurred on federal and state offshore platforms for
                              15   nearly 40 years with no documented episode of harm, there is no basis to require
                              16   DCOR to continue to suffer irreparable injury given the California Plaintiffs’ long
                              17   acceptance of this activity.
                              18          Similarly, this modification will not otherwise harm the Plaintiffs as a group,
                              19   because the Federal Defendants must still complete any consultation with the Fish
                              20   and Wildlife Service (“FWS”), as specifically pertains to these two APMs, to the
                              21   extent required under the ESA.
                              22   II.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
                              23          On April 25, 2017, DCOR moved to intervene in this action. ECF 45.
                              24   DCOR provided a detailed factual description of its extensive interests in the
                              25   POCS and its lengthy history of utilizing WSTs in the region. See ECF 45, at 3,
                              26   l. 13 – 8, l. 5.
                              27          DCOR highlighted how its unique position and interests differed from the
                              28
                                                                                 2
                                                                     NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
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                               1   other Defendants and intervenors, because “DCOR has invested extensive amounts
                               2   of money, time, and manpower into the effective use of WSTs, including hydraulic
                               3   fracturing, on its Pacific OCS wells.” Id. at 12, ll. 11-13. Specifically, DCOR
                               4   explained that hydraulic fracturing has been conducted on Platform Gilda in the
                               5   Pacific OCS, a DCOR Platform, regularly since 1994. Id. at ll. 19-21.
                               6          Further, DCOR’s predecessor operators and other operators have used WSTs
                               7   on platforms in the Pacific OCS Region since 1982. Id. at ll. 21-23. With respect
                               8   to Platform Gilda, hydraulic fracturing was proposed in the Update to the Plan of
                               9   Development filed by Unocal in 1985 for the Santa Clara Field. Id. at ll. 23-25.
                              10   DCOR’s predecessors conducted ten operations involving hydraulic fracturing in
                              11   that Field between 1986 and 2001. Id. at ll. 25-26.
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                              12          DCOR also clarified that its ability to utilize hydraulic fracturing in a timely,
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                              13   safe, and effective manner, through the BOEM and BSEE permitting process, is a
                              14   vital – potentially existential – element of their activities in the POCS, stating:
                              15          In late 2014 and early 2015 DCOR successfully completed hydraulic
                              16          fracturing stimulations on two recently re-drilled wells, S-33 and S-
                              17          75, under permits thoroughly reviewed by the regulating agencies
                              18          responsible for these activities. Prior to this time the two wells had no
                              19          value. After re-drilling and hydraulically stimulating these two wells,
                              20          their value rose to approximately $30,000,000, including $5,000,000
                              21          of value to the royalty interest in the wells owned by the United States
                              22          Government.
                              23   Id. at p. 6, l. 26-p. 7, l. 6. Thus, as DCOR explained, if the Plaintiffs were to
                              24   succeed in acquiring an injunction, it would cause DCOR great potential harm,
                              25   because its Pacific OCS Region assets are 70% of its overall base of assets, and
                              26   hydraulic fracturing is a key element of DCOR’s Pacific OCS development
                              27   strategy. Id. at p. 7, l. 20-p. 8, l. 3.
                              28
                                                                                  3
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                             1          Finally, DCOR explained that its factual position provided it a unique
                             2   defense to the State’s claims insistence on applying CZMA review to WST activity
                             3   in the Pacific OCS, explaining:
                             4          DCOR is exempt from key provisions on which the State plaintiffs
                             5          rely. Section 25(i) of the OCS Lands Act adopted provisions requiring
                             6          lessees to file consistency certifications if they file revisions to
                             7          previously approved plans, and those revisions, if significant, are
                             8          subject to consistency certifications and review under CZMA Section
                             9          307(c)(3)(B). However, Section 25(i) does not apply to development
                           10           and production plans for “any area” of the OCS where oil or gas had
                           11           been discovered in paying quantities before September 18, 1978. 43
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                           12           U.S.C. §1351(a).
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                           13    Id. at 12 ll. 17-26.
                           14           On July 11, 2017, this Court granted DCOR’s motion to intervene in this
                           15    matter, recognizing that “DCOR has an interest in oil and gas platforms on the
                           16    Pacific Outer Continental Shelf and seeks permits from the Bureau of Ocean
                           17    Energy Management and the Bureau of Safety and Environmental Enforcement to
                           18    conduct hydraulic fracturing on those platforms.” ECF 71, at 1.
                           19           On February 12, 2018, the Plaintiffs filed their respective motions for
                           20    summary judgment. ECF 95, 96, 97. Although the Plaintiffs’ opening briefs made
                           21    general requests that the Court enjoin the Federal Defendants from certain
                           22    activities, they did not conduct the multi-factor analysis associated with seeking
                           23    injunctive relief. See id. Thus, none of the ensuing summary judgment filings
                           24    contained any analysis of the equities associated with the entry of an injunction, let
                           25    alone a response to DCOR’s earlier explanation of the harsh consequences an
                           26    injunction would have on its interests. See ECF 101, 102, 106, 107, 108, 109, 110,
                           27    111, 112, 113, 119, 120, 121.
                           28
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                             1         On November 9, 2018 the Court entered its Order granting in part, and
                             2   denying in part, the pending cross-motions for summary judgment.                             On
                             3   December 13, 2018, the Court entered its Judgment, finalizing the Order. The
                             4   Court’s ruling included the following Injunction:
                             5         Plaintiffs are entitled to injunctive relief, and the Federal Defendants
                             6         are ORDERED to refrain from approving any plans or permits (e.g.,
                             7         Development and Production Plans, Applications for Permits to Drill,
                             8         Applications for Permits to Modify) for the use of well stimulation
                             9         treatments on the Pacific Outer Continental Shelf unless and until they
                           10          (1) complete consultation with the FWS under the ESA, and (2)
                           11          complete the CZMA process under 16 U.S.C. § 1456(c)(1) for the
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                           12          proposed action described in the Final Programmatic Environmental
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                           13          Assessment of the Use of Well Stimulation Treatments on the Pacific
                           14          Outer Continental Shelf dated May 2016.
                           15    ECF 132, at 3.
                           16          This Injunction has immediate and harmful ramifications for DCOR. As
                           17    explained in its Motion to Intervene, in 2016, DCOR submitted one APM to BSEE
                           18    notifying it of its intent to use hydraulic fracturing in one well on Platform Gilda,
                           19    S-62. ECF 45, at p. 7, ll. 14-16. Further, on January 10, 2019, DCOR submitted
                           20    another permit for review. Dec. of David Cohen, ¶ 8.                 DCOR’s two pending
                           21    APMs propose operational plans that are consistent with the WST treatments that
                           22    DCOR and its predecessors in the Pacific OCS previously conducted pursuant to
                           23    federal agency approval. Id. at ¶ 9. Prior to this litigation, approval of DCOR’s
                           24    APMs for WST use, including for hydraulic fracturing treatments, in the Pacific
                           25    OCS took an average of approximately three weeks. Id. at 15. Now that the
                           26    Injunction is in place, the Federal Defendants are prohibited from considering and
                           27    approving these APMs.
                           28
                                                                             5
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                             1         If BSEE cannot review and approve the pending APMs, such that DCOR is
                             2   unable to hydraulically fracture Platform Gilda, S-62 and S-28, then these wells
                             3   will lack any value or utility. Thus, DCOR will have to cease operations on these
                             4   wells indefinitely. Dec. of Alan C. Templeton, ¶ 8. This will result in DCOR
                             5   immediately foregoing projected average annual net revenues of $7,400,000 over
                             6   each of the first five (5) years, totaling a loss in present value of $29,750,000,
                             7   which will cause a corresponding projected revenue loss to the United States from
                             8   lost royalties over the same 5-year period totaling approximately $6,200,000, and a
                             9   loss in present value of $5,000,000. Id. at ¶ 9.
                           10          Further, DCOR plans its operations in batches of wells. Under normal
                           11    circumstances, after the successful stimulation of Platform Gilda, S-62 and S-28, it
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                           12    would be practical and prudent to conduct hydraulic fracturing operations on eight
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                           13    additional wells in Platform Gilda across the years 2020 to 2022, such that its
                           14    operations will not exceed four hydraulic fracturing treatments in any one year and
                           15    will average fewer than three per year. Id. at ¶ 10. Thus, if DCOR continues to be
                           16    unable to have its WST APMs reviewed, processed, and approved in the Pacific
                           17    OCS, then it will have no choice but to consider abandoning its operations on
                           18    Platform Gilda prematurely. This would have a negative impact across all of
                           19    DCOR’s operations in the Pacific OCS, given that Platform Gilda is currently
                           20    DCOR’s most valuable asset in the Pacific OCS, and DCOR can only realize the
                           21    full value of this asset through its proposed use of WST activities on Platform
                           22    Gilda. Id. at ¶ 11.
                           23          The failure of DCOR to fully realize the value of Platform Gilda through its
                           24    proposed WST activities would result in a cumulative loss of projected revenue to
                           25    DCOR of approximately $174,000,000, and a corresponding projected revenue
                           26    loss to the United States from lost royalties of approximately $29,000,000. Id. at
                           27    ¶ 12. DCOR has no legal avenue from which it can attempt to recover these lost
                           28
                                                                              6
                                                                  NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
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                             1   funds. Moreover, DCOR does not anticipate that any other operator would want to
                             2   acquire interests in these assets without the ability to utilize WSTs, as a number of
                             3   the wells within these assets would otherwise lack any measurable value or utility.
                             4   Id. at ¶ 13.
                             5          The pending APMs do not pose a risk to the California coastal zone or
                             6   California’s interests. In fact, WST use has a long history in the Pacific OCS, as
                             7   well as in California state waters in the California coastal zone. Id. at 10. The
                             8   California Council on Science and Technology (“CCST”) has indicated that an
                             9   average of around 18 wells a year are hydraulically fractured in the California
                           10    coastal zone. ECF 107, p. ll. 20-23. Similarly, the Argonne Final Programmatic
                           11    EA estimated that across all operators, California state agencies have approved and
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                           12    allowed 117 hydraulic fracturing treatments for the period January 2002 to
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                           13    December 2013, or ten hydraulic fracturing treatments per year in the California
                           14    coastal zone. See Dec. of David Cohen, ¶ 10.
                           15           The APMs are consistent with WST treatments that DCOR and its
                           16    predecessors conducted in California state waters (and the coastal zone) with State
                           17    of California approval. Id. at 9. In addition to its extensive assets in the federal
                           18    Pacific OCS region, DCOR itself has drilled and utilized WSTs in California state
                           19    waters in the coastal zone. Id. at 11. Specifically, in 2010 and 2011, DCOR
                           20    conducted fourteen safe and effective hydraulic fracturing treatments in the
                           21    California coastal zone, pursuant to all relevant state agency approvals, including
                           22    the California State Lands Commission and California Division of Oil, Gas, and
                           23    Geothermal Resources (“DOGGR”).               Id. at 12.        The hydraulic fracturing
                           24    treatments DCOR conducted in California state waters in the coastal zone are
                           25    materially the same in scope, volume, and method to what DCOR is proposing in
                           26    its two APMs currently pending with BSEE for hydraulic fracturing in the Pacific
                           27    OCS. Id. at ¶ 14.
                           28
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                             1   III.   ARGUMENT
                             2          The Injunction shall cause DCOR to suffer unrecoverable and irreparable
                             3   harm. However, when the Court conducted its injunction analysis, it did not
                             4   consider how the equitable factors apply to DCOR in its pursuit of permits. Thus,
                             5   DCOR requests this Court partially amend its Injunction under Rule 59(e), or
                             6   otherwise provide DCOR partial relief from the Injunction, pursuant to Rule 60(b),
                             7   thereby allowing DCOR to pursue its APMs on their own merits. Such relief is
                             8   needed to protect DCOR from irreparable harm that further delay will cause.
                             9          DCOR is not seeking to avoid any obligations it might have under ESA and
                           10    CZMA respecting its APMs.           Nor is DCOR asking to relieve the Federal
                           11    Defendants from their obligations under the Injunction, except to the extent
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                           12    necessary to allow the government to review, process, and approve DCOR’s APMs
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                           13    on their own merits, while the government is either challenging or complying with
                           14    the Injunction.
                           15           A.    It is Proper for the Court to Reconsider its Injunction as Pertains
                                              to DCOR, Because it Failed to Consider the Unique Harm and
                           16                 Impact of the Injunction on DCOR When Entering its Order
                           17           A district court may reconsider a “judgment under either Rule 59(e) (motion
                           18    to alter or amend a judgment) or Rule 60(b) (relief from judgment).” Sch. Dist. No.
                           19    1J, Multnomah Cty., Or. v. ACandS, Inc., 5 F.3d 1255, 1262 (9th Cir. 1993).
                           20           As applicable here, Rule 59(e) permits a motion for amendment of
                           21    judgment, i.e. a motion for reconsideration, (1) to correct manifest errors of law or
                           22    fact upon which the judgment is based; and (2) to prevent manifest injustice. See
                           23    Turner v. Burlington N. Santa Fe R.R. Co., 338 F.3d 1058, 1063 (9th Cir. 2003);
                           24    see also Mantle Ranches, Inc. v. U.S. Park Serv., 950 F. Supp. 299, 300 (D. Colo.
                           25    1997) (granting a Rule 59(e) motion in part, where National Park Service showed
                           26    that the judge inaccurately held that illegal ATV use was not occurring on park
                           27    land, such that the injunction needed to be expanded to cover such existing use).
                           28
                                                                             8
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                             1   Rule 59(e) permits a party to seek a “substantive alteration of the judgment, not
                             2   merely the correction of a clerical error, or relief of a type wholly collateral to the
                             3   judgment.” § 2810.1, 11 Fed. Prac. & Proc. Civ. § 2810.1 (3d ed.)
                             4           Local Rule 7-18(c) also allows relief in the form of judicial reconsideration.
                             5   Specifically, “[a] motion for reconsideration of the decision on any motion may be
                             6   made only on the grounds of…a manifest showing of a failure to consider material
                             7   facts presented to the Court before such decision. No motion for reconsideration
                             8   shall in any manner repeat any oral or written argument made in support of or in
                             9   opposition to the original motion.”2 C.D. Cal. L.R. 7-18(c).
                           10            In the alternative, DCOR seeks partial relief from the Injunction under Rule
                           11    60(b), which allows for relief upon a showing of “mistake, inadvertence, surprise,
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                           12    or excusable neglect,” and, under subpart (6), for “any other reason justifying
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                           13    relief.” Relief under Rule 60(b) “does not affect the judgment’s finality or suspend
                           14    its operation.” FRCP 60(c)(2).
                           15            In this instance, a partial modification of the injunction to allow BOEM and
                           16    BSEE to consider and approve DCOR’s existing permit applications is proper. The
                           17    Injunction did not consider the effect the Injunction would have on DCOR, though
                           18    facts in the administrative record and briefed to the Court showed the harm to
                           19    DCOR substantial and the harm to the Plaintiffs slight. Further, none of the
                           20    Plaintiffs attempted to meet their burden to support the Injunction in oral or written
                           21    argument on the Monsanto Factors.
                           22            B.       The Court Erred in Basing the Injunction Simply on the Federal
                                                  Defendants’ Failure to Provide a Consistency Determination to
                           23                     the California Plaintiffs
                           24            Even when a court determines that a federal agency has failed to follow a
                           25    procedure required by law, an injunction is not automatic. “An injunction is a
                           26
                           27    2
                                          Because of this Local Rule, DCOR does not repeat the argument that 16 U.S.C. § 1456(c)(1) does not apply
                                 to Federal Defendants’ action here. Nor does DCOR abandon it, however.
                           28
                                                                                        9
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                             1   drastic and extraordinary remedy, which should not be granted as a matter of
                             2   course.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010)
                             3   (holding district court had abused its discretion in enjoining agency from allowing
                             4   the planting of genetically engineered alfalfa seeds). “The grant of jurisdiction [to
                             5   a court] to ensure compliance with a statute hardly suggests an absolute duty to do
                             6   so under any and all circumstances, and a federal judge sitting as chancellor is not
                             7   mechanically obligated to grant an injunction for every violation of
                             8   law.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 313 (1982) (reversing court
                             9   of appeals for enjoining the Navy’s discharge of ordinance without a Clean Water
                           10    Act permit).
                           11          On at least three occasions, the Supreme Court has reversed courts that held
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                           12    that the mere failure to obtain a permit or prepare an analysis was enough to
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                           13    support the grant of an injunction. In Weinberger, when the lower court found that
                           14    the Navy was discharging ordnance without a required permit under the Clean
                           15    Water Act, it ordered the Navy to apply for a permit, but allowed the discharge to
                           16    proceed in the interim because the evidence showed the discharge was not harming
                           17    water quality. When the court of appeals ordered that an injunction issue, the
                           18    Supreme Court determined that the appeals court had erroneously focused on the
                           19    integrity of the permit process instead of on the integrity of water quality. 456
                           20    U.S. at 314-15.
                           21          In Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531 (1987), the
                           22    Supreme Court reversed the Ninth Circuit for imposing an injunction based solely
                           23    on the federal agency’s failure to prepare a subsistence impact analysis under the
                           24    Alaska National Interest Lands Conservation Act (“ANILCA”). It noted the
                           25    district court had found that offshore oil and gas activities would not significantly
                           26    restrict subsistence uses, and that the Ninth Circuit had based its injunction on the
                           27    presumption that irreparable harm results when an agency fails to evaluate the
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                             1   impacts of a proposed action. Id. at 544-45. And in Winter, discussed above, the
                             2   Court held it an abuse of discretion for the lower court to allow the failure to
                             3   prepare    an   environmental     impact      statement      to   trump      other    equitable
                             4   considerations. 555 U.S. at 32-33 (citing 40 years of sonar training with no
                             5   documented case of harm to marine mammals).
                             6           Here, the dominant consideration in granting the Injunction was the Court’s
                             7   finding that “the California Plaintiffs have suffered an irreparable injury in being
                             8   denied their right under the CZMA to ... be given an opportunity to review a
                             9   consistency determination under 16 U.S.C. § 1456(c)(1).” ECF 126, at 40. But the
                           10    same was said about the Navy’s failure to obtain a permit, or Interior’s failure to
                           11    analyze impacts on native subsistence, or the Navy’s failure to prepare an EIS
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                           12    before sonar testing. Yet in all cases the Supreme Court found the lower courts to
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                           13    have abused their discretion when entering injunctions on that basis. The Court’s
                           14    finding here cannot be distinguished from the Ninth Circuit’s rule, reversed by
                           15    Village of Gambell, that irreparable harm is presumed from the agency’s failure to
                           16    follow a required procedure intended to protect environmental interests. The Court
                           17    should reconsider its application of the Monsanto factors, to which we now turn.
                           18
                                    C.      A Reconsideration of the Monsanto Factors, Taking into Account
                           19               the Injunction’s Effects on DCOR, shows that DCOR Should be
                           20               Exempt from the Injunction
                           21            As set forth in the Order, “the general rule is that a plaintiff seeking an
                           22    injunction must demonstrate that (1) it has suffered an irreparable injury, (2) the
                           23    remedies available at law, such as monetary damages, are inadequate to
                           24    compensate for that injury, (3) that a remedy in equity is warranted, taking into
                           25    account the balance of the hardships, and (4) that the public interest would not be
                           26    disserved by a permanent injunction.” ECF 126, at 33 (citing Monsanto Co., 561
                           27    U.S. at 156-57) (emphasis added). The Plaintiffs never presented any arguments
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                             1   on the application of these factors when seeking their injunction, failing
                             2   completely to carry their burden of proof. Thus, the Court relied on its own
                             3   analysis of the facts to determine the proper balancing of hardships in this matter,
                             4   which omitted a review of the harm the Injunction will cause DCOR.
                             5         A reconsideration of these factors, which considers DCOR’s hardships,
                             6   shows it is proper for this Court to exempt DCOR’s APMs from the Injunction’s
                             7   breadth. “While ‘[t]he decision to grant or deny permanent injunctive relief is an
                             8   act of equitable discretion by the district court,’ the ‘traditional principles of
                             9   equity’ demand a fair weighing of the factors listed above, taking into account the
                           10    unique circumstances of each case.” La Quinta Worldwide LLC v. Q.R.T.M., S.A.
                           11    de C.V., 762 F.3d 867, 880 (9th Cir.2014) (quoting eBay Inc. v. MercExchange,
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                           12    L.L.C., 547 U.S. 388, 391 (2006)) (emphasis added). “It is not enough for a court
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                           13    considering a request for injunctive relief to ask whether there is a good reason
                           14    why an injunction should not issue; rather, a court must determine that an
                           15    injunction should issue under the traditional four-factor test….” Monsanto, 561
                           16    U.S. at 158 (emphasis in original).
                           17          When the Court considers the Monsanto factors, DCOR’s harm must be
                           18    expressly addressed. As an intervenor-of-right, subject only to conditions unrelated
                           19    to its substantive status, DCOR shares the same rights and standing as the original
                           20    parties to this action. See ECF 71; § 1920 Status of Intervenor, 7C Fed. Prac. &
                           21    Proc. Civ. § 1920 (3d ed.) (“Unless conditions have been imposed, the intervenor
                           22    is treated as if the intervenor were an original party and has equal standing with the
                           23    original parties.”); see also League of United Latin Am. Citizens v. Wilson, 131
                           24    F.3d 1297, 1304 (9th Cir. 1997) (“[A]s a general rule, intervenors are permitted to
                           25    litigate fully once admitted to a suit.”) Thus, the court needed to consider DCOR’s
                           26    interests when weighing the factors and hardships necessary to the granting of a
                           27    permanent injunction.
                           28
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                             1         Moreover, the Court needed to ensure that its “[i]njunctive relief [was]
                             2   tailored to remedy the specific harm alleged[, because a]n overbroad injunction is
                             3   an abuse of discretion.” Lamb–Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970,
                             4   974 (9th Cir.1991) (emphasis added) (citations omitted). In this instance, the
                             5   Injunction globally prohibits the Federal Defendants’ from approving any permits
                             6   until the indefinite time in which they can complete consultation with the FWS and
                             7   the CZMA process, as pertains to the entire breadth of activities contemplated in
                             8   the Final EA. ECF 126, at 41.
                             9         When applied to DCOR, the scope of the Injunction causes it great harm,
                           10    while not preventing any relevant corresponding injury. Thus, the Injunction is too
                           11    broad, and should be more narrowly tailored to accommodate DCOR’s APMs.
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                           12    See, e.g., California v. Azar, 911 F.3d 558, 2018 WL 6566752, at *16-17 (9th Cir.
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                           13    2018) (holding the district court abused its discretion by issuing an overbroad
                           14    preliminary injunction when it only considered the economic harm to the plaintiff
                           15    States but issued a nationwide injunction including all States); Stormans, Inc. v.
                           16    Selecky, 586 F.3d 1109, 1140 (9th Cir. 2009) (preliminary injunction was
                           17    overbroad).
                           18                  1.   DCOR will Suffer Irreparable Harm if the Court does not
                                                    Exempt DCOR from the Injunction
                           19
                           20          On matters of injunctive relief, district courts must consider all relevant
                           21    factors of harm, including the impact the injunctive relief would have on the
                           22    opposing party. See Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 156-57
                           23    (2010); Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 21-22 (2008). As
                           24    explained in detail in § II above, the Injunction will cause DCOR to suffer
                           25    irreparable harm, and no remedies are available at law to compensate for that
                           26    injury. ECF 126, at 33. Specifically, it prohibits the Federal Defendants from
                           27    “approving any plans or permits (DPPs, APDs, or APMs) for the use of WSTs on
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                             1   the Pacific OCS unless and until they (1) complete consultation with FWS under
                             2   the ESA and (2) complete the CZMA process under 16 U.S.C. § 1456(c)(1) for the
                             3   proposed action described in the Final EA.” Id.
                             4         If BSEE cannot review and approve the pending APMs, such that DCOR is
                             5   unable to hydraulically fracture Platform Gilda, S-62 and S-28, then these wells
                             6   will lack any value or utility. This will result in DCOR immediately foregoing
                             7   projected average annual net revenues of $7,400,000 over each of the first five (5)
                             8   years, totaling a loss in present value of $29,750,000, which will cause a
                             9   corresponding projected revenue loss to the United States from lost royalties over
                           10    the same 5-year period totaling approximately $6,200,000, and a loss in present
                           11    value of $5,000,000.
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                           12          The failure of DCOR to fully realize the value of Platform Gilda through its
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                           13    proposed WST activities would result in a cumulative loss of projected revenue to
                           14    DCOR of approximately $174,000,000, and a corresponding projected revenue
                           15    loss to the United States from lost royalties of approximately $29,000,000. Id. at
                           16    ¶ 12. DCOR has no legal avenue from which it can attempt to recover these lost
                           17    funds. Moreover, DCOR does not anticipate that any other operator would want to
                           18    acquire interests in these assets without the ability to utilize WSTs, as a number of
                           19    the wells within these assets would otherwise lack any measurable value or utility.
                           20          There is no legal avenue available to recover the revenue lost during the
                           21    federal government’s attempts to comply with the broad Injunction; thus, DCOR’s
                           22    harm will be unrecoverable and irreparable. An “irreparable harm requirement is
                           23    met if a plaintiff demonstrates a significant risk that he or she will experience harm
                           24    that cannot be compensated after the fact by monetary damages.” Adams v.
                           25    Freedom Forge Corp., 204 F.3d 475, 484–85 (3d Cir.2000) (emphasis added).
                           26    The Central District of California has recognized that when the government is a
                           27    party, the monetary harm a party incurs between entry of an injunction and its final
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                             1   resolution on the merits, is irreparable. See F.T.C. v. Lab. Corp. of Am., No.
                             2   SACV 10-1873 AG MLGX, 2011 WL 3100372, at *22 (C.D. Cal. Feb. 22, 2011)
                             3   (“Courts must also carefully consider whether preliminary injunctive relief is
                             4   appropriate in light of the long time-period between preliminary proceedings and a
                             5   final decision on the merits… This is particularly true when the government is the
                             6   plaintiff as the merging parties will not be compensated for their harm during the
                             7   pendency of the injunction, which renders such harm irreparable.”)
                             8                2.    The Balancing of Equities Shows that DCOR’s Hardships far
                                                    Outweigh any Benefit to the Plaintiffs from Barring
                             9                      Consideration and Approval of DCOR’s Permits
                           10          Imposition of the Injunction will expose DCOR to extensive and irrevocable
                           11    harm, while providing minimal benefit to the Plaintiffs. “It is important [for the
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                           12    court] to consider the totality of circumstances bearing on whether a permanent
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                           13    injunction is appropriate equitable relief.” La Quinta Worldwide LLC, 762 F.3d at
                           14    880 (vacating the entry of a permanent injunction, because the district court failed
                           15    to consider all relevant facts, including the impact the injunctive relief would have
                           16    on the opposing party, when balancing the hardships at issue).                     Further, the
                           17    Supreme Court has explicitly denounced cursory evaluations of the balancing of
                           18    the equities and the public interest. Winter, 555 U.S. at 26. The scope of an
                           19    injunction is “dependent as much on the equities of a given case as the substance of
                           20    the legal issues it presents,” and courts must tailor the scope “to meet the
                           21    exigencies of the particular case.” Trump v. Int’l Refugee Assistance Project, ––
                           22    U.S.––, 137 S. Ct. 2080, 2087-88 (2017) (narrowing scope of injunction because
                           23    the court did not properly analyze the potential harm to foreign nationals).
                           24          As explained above, implementation of the broad Injunction exposes DCOR
                           25    to extensive hardship.      This harm to DCOR is not offset by benefits to the
                           26    Plaintiffs, because activities under DCOR’s APMs will not pose the risk of
                           27    negative impacts to the State of California or the remaining Plaintiffs. The Court
                           28
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                             1   observed that “[w]hatever California may have concurred in with regard to past
                             2   plans and permits for oil production on the POCS, it seems clear that it has not
                             3   concurred in the use of WSTs.” ECF 126 at 39. That may be true in a very narrow
                             4   sense, but it is mostly inconsistent with the record. When the California Coastal
                             5   Commission concurred with the consistency of the DPP for Platform Gilda in
                             6   1980, it had been a matter of public record since 1974—through a published EIS—
                             7   that hydraulic fracturing and other WSTs were well completion methods that were
                             8   authorized for use on the Pacific OCS. See Letter from Ellen G. Aronson, BOEM
                             9   Pacific Region Director,     and Jaron E. Ming, BSEE Region Director, to Dr.
                           10    Charles Lester, Executive Director, California Coastal Commission (Feb. 11,
                           11    2014), available at https://www.bsee.gov/sites/bsee.gov/files/memos/bsee/2014-
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                           12    02-11-boem-bsee-ca-coastal-commision-letter.pdf.
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                           13          Thus, the facts contradict a broader inference that the California Defendants
                           14    have objected to, or would have objected to, hydraulic fracturing operations on the
                           15    OCS. They also show that California’s interests in protecting its coastal zone will
                           16    not be harmed by allowing DCOR’s permits to proceed. It is also of record (as
                           17    noted in DCOR’s brief on the merits) that the California Defendants have long
                           18    approved an average of eighteen hydraulic fracturing operations per year on state
                           19    submerged lands inside the coastal zone. A.R. 24393. Among those approvals
                           20    were fourteen for hydraulic fracturing by DCOR. Decl. of David Cohen, ¶¶ 12-
                           21    13. Each of these prior hydraulic fracturing treatments were conducted safely and
                           22    successfully. The APMs, which aim to conduct hydraulic fracturing 5.9 miles
                           23    from the California coastal zone, are consistent with these treatments that DCOR
                           24    and its predecessors conducted in California state waters (and the coastal zone)
                           25    with State of California approval.
                           26          Similarly, exempting DCOR from the Injunction will not cause the Plaintiffs
                           27    any harm in relation to the Plaintiffs’ interest in having the government comply
                           28
                                                                             16
                                                                 NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
                                                        OR PARTIAL RELIEF FROM ORDER ON BEHALF OF DEFENDANT INTERVENOR DCOR, LLC;
                                                             MEMORANDUM OF POINTS AND AUTHORITIES; CASE NO. 2:16-CV-08418-PSG-FFMX
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                             1   with its ESA requirements. DCOR’s requested relief accounts for the Federal
                             2   Defendants needing to complete any consultation with FWS, as pertains solely to
                             3   its pending APMs, to the extent required under the ESA. It is unclear why the
                             4   FWS has not completed consultation with the Federal Defendants during the last
                             5   seventeen months. What is clear, however, is that the Federal Defendants opened
                             6   consultation on topics far beyond WSTs. See AR 106295 (listing activities on
                             7   which consultation was sought). If the Judgment is modified, the Federal
                             8   Defendants could complete consultation limited to the two APMs, or they could
                             9   complete consultation on all issues. Either way, Plaintiffs are not irreparably
                           10    harmed now, because they may challenge any final agency action on the
                           11    APMs. Monsanto, 561 U.S. at 162.
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                           12                 3.     It Would be a Disservice to the Public Interest to Subject
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                           13                        DCOR to the Injunction
                           14          In seeking a permanent injunction, the Plaintiffs also needed to show that the
                           15    “public interest would not be disserved by a permanent injunction.” Monsanto,
                           16    561 U.S. at 157 (quoting eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391
                           17    (2006)). While the CZMA serves important public interests, so does development
                           18    of oil and gas on the Outer Continental Shelf. Watt v. Energy Action Educ. Fdn.,
                           19    454 U.S. 151, 155 n.3 (1981) (“The ‘basic purpose’ of the 1978 Amendments [to
                           20    the OCS Lands Act] was to ‘promote the swift, orderly and efficient exploitation of
                           21    our almost untapped domestic oil and gas resources in the Outer Continental
                           22    Shelf[.] (citation omitted)).
                           23          As in Village of Gambell, the CZMA (like ANILCA) does not state that uses
                           24    of the coastal zone, let alone consistency determinations, “are always more
                           25    important than development of energy resources[.]” 480 U.S. at 545. It is the duty
                           26    of the Court to seek accommodation among the competing elements of the public
                           27    interest. Id. Elevating the right to a consistency determination, ECF 126 at 40,
                           28
                                                                               17
                                                                   NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
                                                          OR PARTIAL RELIEF FROM ORDER ON BEHALF OF DEFENDANT INTERVENOR DCOR, LLC;
                                                               MEMORANDUM OF POINTS AND AUTHORITIES; CASE NO. 2:16-CV-08418-PSG-FFMX
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                             1   above all other considerations does not, DCOR respectfully submits, achieve the
                             2   required accommodation.
                             3   IV.   CONCLUSION
                             4         For the reasons set forth above, DCOR respectfully requests the Court grant
                             5   this Motion.
                             6
                             7   Dated: January 10, 2019               Respectfully submitted,
                             8
                                                                       Baker & Hostetler LLP
                             9                                         By: /s/ L. Poe Leggette
                                                                            Poe Leggette (Admitted Pro Hac Vice)
                           10                                          Attorneys for Defendant-Intervenor
                                                                       DCOR, LLC
                           11
B AKER & H OSTETLER LLP




                                 Michael R. Matthias
   A TTORNEYS AT L A W




                           12    Mark S. Barron (Admitted Pro Hac Vice)
      L OS A NGELES




                                 Emily B. Thomas (Admitted Pro Hac Vice)
                           13    BAKER & HOSTETLER LLP
                                 811 Main Street
                           14    Suite 1100
                                 Houston, TX 77002-6111
                           15    Telephone: 713.751.1600
                                 Facsimile: 713.751.1717
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                                                                NOTICE OF MOTION AND MOTION FOR PARTIAL AMENDMENT OF JUDGMENT
                                                       OR PARTIAL RELIEF FROM ORDER ON BEHALF OF DEFENDANT INTERVENOR DCOR, LLC;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES; CASE NO. 2:16-CV-08418-PSG-FFMX
